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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

    UNITED STATES OF AMERICA,               Case No. 23-80101-CR
                                            CANNON/REINHART
    vs.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVEIRA,

                Defendants.
    _____________________________________




    PRESIDENT TRUMP’S MOTION TO DISMISS THE INDICTMENT BASED ON THE
   UNLAWFUL APPOINTMENT AND FUNDING OF SPECIAL COUNSEL JACK SMITH
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                                          INTRODUCTION

            President Donald J. Trump respectfully submits this motion to dismiss the Superseding

   Indictment based on the unlawful appointment of Special Counsel Jack Smith, in violation of the

   Appointments Clause and the Appropriations Clause. 1

                                             DISCUSSION

       I.   The Creation Of The Special Counsel Office Violated The Appointments Clause

            The Appointments Clause does not permit the Attorney General to appoint, without Senate

   confirmation, a private citizen and like-minded political ally to wield the prosecutorial power of

   the United States. As such, Jack Smith lacks the authority to prosecute this action. “[T]hat is a

   serious problem for the rule of law—whatever one may think of former President Trump or the

   conduct Smith challenges in the underlying case.” 2 This is an issue of first impression in the

   Eleventh Circuit, and it requires that the Superseding Indictment be dismissed.

               A. Relevant Facts

            On November 18, 2022, Attorney General Garland appointed Smith as a “Special Counsel”

   with purported authority to “prosecute federal crimes arising from the investigation” into President

   Trump. DOJ Order No. 5559-2022 at 2. Soon after his appointment, the DOJ launched a webpage



   1
    President Trump reserves the right to supplement this motion and file any other motions based
   on discovery provided as a result of the motions to compel. See ECF No. 314.
   2
    Brief of Former Attorney General Edwin Meese III, Law Professors Steven Calabresi and Gary
   Lawson, and Citizens United as Amici Curiae in Support of Applicant at 1, Trump v. United States,
   Supreme Court of the United States, No. 23A745 (Feb. 20, 2024); see also Brief of Former
   Attorney General Edwin Meese III and Law Professors Steven G. Calabresi and Gary S. Lawson
   as Amici Curiae Supporting Neither Party at 2, United States v. Trump, No. 23-3228 (D.C. Cir.
   2023) (ECF No. 2033813) (“Jack Smith does not have authority to conduct the underlying
   prosecution. Those actions can be taken only by persons properly appointed as federal officers to
   properly created federal offices. Neither Smith nor the position of Special Counsel under which
   he purportedly acts meets those criteria.”).

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   for Smith, similar to webpages DOJ maintains for different components of the Department, that

   links to statements of the expenditures by Smith’s “office.” 3 The statements of expenditures

   summarize the financial activity of the “Special Counsel’s Office (SCO) of John L. Smith,” further

   providing that, “[a]s an organization within the Department of Justice, the SCO is required to

   comply with the rules, regulations, procedures, practices, and policies of the Department of

   Justice.” 4

                 B. The Smith Appointment Violates The Appointments Clause

            The Constitution vests all “executive Power” in a president, who must “take Care that the

   Laws be faithfully executed.” U.S. CONST. art. II, § 1, cl. 1, § 3. The Appointments Clause requires

   that all federal offices “not . . . otherwise provided for” in the Constitution—every office other

   than the president—must be “established by Law,” i.e., by Congress. U.S. CONST. art. II, § 2, cl.

   2. The Appointments Clause requires that any appointment be with the “Advice and Consent of

   the Senate.” Id. It follows, then, that to properly establish a federal office, Congress must enact

   it.

            The Necessary and Proper Clause authorizes Congress to create federal offices to exercise

   such power. See U.S. CONST. art. I, § 8, cl. 18 (“The Congress shall have Power . . . To make all

   Laws which shall be necessary and proper for carrying into Execution the foregoing Powers, and

   all other Powers vested by this Constitution in the Government of the United States, or in any

   Department or Officer thereof.”). There is, however, no statute establishing the Office of Special


   3
       See DOJ, About: Special Counsel Jack Smith, https://www.justice.gov/sco-smith.
   4
    U.S. Dep’t of Justice, Special Counsel’s Office – Smith Statement of Expenditures, available at
   https://www.justice.gov/d9/2023-
   07/Special%20Counsel%27s%20Office%20of%20John%20L.%20Smith%20-
   %20Statement%20of%20Expenditures%20-
   %20November%2018%202022%20to%20March%2031%202023_FINAL_7.5.23%20v1.pdf

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   Counsel. As a result, because neither the Constitution nor Congress have created the office of the

   “Special Counsel,” Smith’s appointment is invalid and any prosecutorial power he seeks to wield

   is ultra vires.

                C. The DOJ Statutes Do Not Vest The Attorney General With Appointment
                   Authority

            Jack Smith is not an “Officer” under the statutes cited by Attorney General Garland. At

   best, he is an employee. See 5 U.S.C. § 3101 (“Each Executive agency, military department, and

   the government of the District of Columbia may employ such number of employees of the various

   classes recognized by chapter 51 of this title as Congress may appropriate for from year to year.”

   (emphasis added)).

            In appointing Smith, Attorney General Garland relied on regulations promulgated by Janet

   Reno pursuant to the Ethics in Government Act of 1978, Pub. L. No. 95-521. See Office of Special

   Counsel, 64 Fed. Reg. 37,038 (July 9, 1999) (codified at 28 C.F.R. §§ 600.1-600.10) (the “Reno

   Regulations”). Under the Reno Regulations, the Attorney General may “appoint an outside Special

   Counsel to assume responsibility for [a] matter.” 28 C.F.R. § 600.1. However, the Reno

   Regulations are not the type of “law” that can “establish[]” a federal office because the

   Appointments Clause dictates that only Congress can create a federal office. See U.S. CONST. art.

   II, § 2, cl. 2.

            The Reno Regulations cite as authority 5 U.S.C. § 301 and 28 U.S.C. §§ 509, 510, 515-19.

   The order appointing Smith cites each of these statutes except § 301. However, none of these

   statutes do not provide authority for a “Special Counsel.” Section 301 is a general provision for

   the issuance of regulations by the head of any Executive department, and the provision does not

   create an office or authorize the creation of an office. Reading § 301 as general authorization for

   appointment of officers renders superfluous the entirety of the numerous more specific provisions

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   for appointment of officers throughout the United States Code, which are not cited in the Reno

   Regulations. See, e.g., 28 U.S.C. §§ 503-507A, 532, 541-42, 561, 581-82, 599A. Sections 509

   and 510 of Title 28 relate to the authority among DOJ officers or employees and the numerous

   agencies that fall under DOJ’s ambit, but these provisions do not authorize the appointment of new

   officers or permit the Attorney General to create new offices.

          Sections 515 through 519 of Title 28 do not authorize the creation of a Special Counsel.

   Section 515(a) concerns the powers of an “officer” or “any attorney specially appointed by the

   Attorney General under law,” meaning lawfully appointed pursuant to other statutory provisions.

   Thus, § 515(a) is not a grant of power to appoint a private citizen as Special Counsel, but a mere

   jurisdictional allocation for duly appointed officers and specially appointed attorneys previously

   authorized by Congress in some other provision. For example, pursuant to § 515(a), in 2003, the

   Attorney General appointed Patrick Fitzgerald, the Senate-confirmed U.S. Attorney for the

   Northern District of Illinois pursuant to 28 U.S.C. § 541, to serve as a Special Counsel in the

   investigation of the Valerie Plame affair.

          Relatedly, 28 U.S.C. § 515(b) is not a grant of authority to retain or to hire new officers.

   The statute is limited to attorneys “retained under authority” of DOJ. Id. Such an attorney must

   be commissioned as a “special assistant to the Attorney General or special attorney,” not a “Special

   Counsel.” Thus, §§ 515(a) and 515(b) assume that attorneys will be “specially appointed by the

   Attorney General under law” and “specially retained under the authority of the Department of

   Justice.” But these provisions do not confer authority to create an office or appoint officers.

          Likewise, 28 U.S.C. §§ 516-19 concern the internal allocation of authority among existing

   DOJ personnel, and these sections do not confer authority to create an office or appoint officers.

   Section 516 reserves the “conduct of litigation” involving the United States to the DOJ. Section



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   517 relates to the powers of the Solicitor General in cases involving the “interests of the United

   States.” Section 518 addresses the Attorney General’s power to argue cases in court. Finally,

   § 519 merely confers power on the Attorney General to supervise litigation involving the

   government and direct government attorneys, such as “special attorneys appointed under section

   543.” 5 Section 543 does not allow the Special Counsel appointments that the Reno Regulations

   sought to authorize because the provision is limited to the appointment of attorneys to “assist

   United States attorneys,” such as “qualified tribal prosecutors.” 28 U.S.C. § 543. Attorney

   General Garland did not cite § 543 in Order No. 5559-2022, and Smith was not appointed to “assist

   [a] United States attorney” under § 543. Rather, Smith claims to have the authority to exercise

   DOJ’s plenary investigative and prosecutorial power without the direction or supervision of a

   superior officer as required by law.

          Attorney General Garland also cited 28 U.S.C. § 533, which is part of Chapter 33, titled

   “Federal Bureau of Investigation.” Because the introductory language of § 533 relates to the

   appointment of “officials,” rather than Article II “Officers of the United States,” § 533(1) is not a

   general authorization to the Attorney General to create an office or appoint an Officer. “Officers”

   is a constitutional term of art under the Appointments Clause; Article II, Section 1; and Article II,

   Section 4, which allows for the impeachment and removal of “all civil Officers of the United States

   . . . .” Congress could impeach the Deputy Attorney General or the FBI Director, but no one




   5
     Section 519 refers to the Attorney General’s supervisory authority over “special attorneys
   appointed under section 543.” Section 543, in turn, provides the Attorney General authority to
   “appoint attorneys to assist United States attorneys when the public interest so requires.” 28
   U.S.C. § 543 (emphasis added). Section 543 does not authorize the appointment of a Special
   Counsel, and has instead been relied upon to appoint “Special Assistant United States Attorneys.”
   See United States v. Navarro, 160 F.3d 1254, 1257 (9th Cir. 1998).

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   contemplates Congress impeaching FBI “officials.” Rather, § 533 “officials” must be subject to

   the supervision and direction of a constitutional “Officer.”

          Finally, reading § 533 to instill virtually limitless inferior Officer appointment power in

   the Attorney General would render Title 28’s appointment structure a nullity. See, e.g., § 504

   (creating Deputy Attorney General); § 505 (creating Solicitor General); § 506 (creating Assistant

   Attorneys General); § 541 (creating United States Attorneys). Title 28 is divided into chapters

   relating to the Attorney General; the FBI (which includes § 533); U.S. Attorneys; the Marshals

   Service; U.S. Trustees; the Bureau of Alcohol, Tobacco, Firearms and Explosives; and the now

   defunct independent counsel. In that context, it does not stand to reason that Congress authorized

   the Attorney General to appoint a Special Counsel in the chapter relating to the FBI.

              D. Nixon Does Not Resolve The Legality Of Smith’s Appointment

          The Supreme Court’s dicta in United States v. Nixon, does not save Jack Smith. In

   reasoning relating to the distinct issue of justiciability, the Nixon Court noted:

          Under the authority of Art. II, s 2, Congress has vested in the Attorney General the power
          to appoint subordinate officers to assist him in the discharge of his duties. 28 U.S.C. §§
          509, 510, 515, 533. Acting pursuant to those statutes, the Attorney General has delegated
          the authority to represent the United States in these particular matters to a Special
          Prosecutor with unique authority and tenure

   418 U.S. 683, 694 (1974). Neither Nixon nor the case that purported to follow it, In re Grand Jury

   Investigation, 916 F.3d 1047, 1053 (D.C. Cir. 2019), engaged in a textual analysis of §§ 509, 510,

   515, and 533 to determine if those sections do, in fact, authorize the appointment of a “Special

   Prosecutor.”

          The Nixon Court was focused on whether the president’s assertion of executive immunity

   could be challenged in any judicial process. 418 U.S. at 706. Nixon was also decided prior to “the

   rebirth of the Appointments Clause in 1976” pursuant to Buckley v. Valeo, 424 U.S. 1 (1976).

   Steven G. Calabresi & Gary Lawson, Why Robert Mueller’s Appointment as Special Counsel Was
                                                     6
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   Unlawful, 95 Notre Dame L. Rev. 87, 124 (2019) (citing, as other examples, Morrison v. Olson,

   487 U.S. 654 (1988) and Lucia v. SEC, 138 S. Ct. 2044 (2018)). Thus, the Nixon Court’s barebones

   analysis of this statutory authority—prior to the development of its Appointment Clause

   jurisprudence—does not settle this inquiry into Smith’s authority.

          Further, Nixon characterized the “Special Prosecutor” as a “subordinate officer.” Nixon,

   418 U.S. at 694; see also In re Grand Jury Investigation, 916 F.3d at 1052 (characterizing Special

   Counsel Mueller as an “inferior officer”). However, Attorney General Garland declared that

   Smith’s appointment was intended to promote independence, and the Special Counsel’s Office has

   insisted that “coordination with the Biden Administration” is “non-existent.” ECF No. 191 at 6,

   United States v. Trump, No. 23 Cr. 257 (D.D.C. Dec. 27, 2023). If Smith is a subordinate officer

   as Nixon suggests, then these public assertions are false because Smith serves at the pleasure of

   the Attorney General and President Biden, who is exercising Article II authority to oversee the

   prosecution of his political rival and leading candidate in the 2024 presidential election.

          For all of these reasons, Smith’s position was not “established by Law” under the

   Appointments Clause. The authority he attempts to employ as Special Counsel far exceeds the

   power exercisable by a non-superior officer, authority that Congress has not cloaked him with.

   See Lucia, 138 S. Ct. at 2051-52. Therefore, any actions taken by Smith are ultra vires and the

   Superseding Indictment must be dismissed.

    II.   The Funding Of Smith’s Investigation Violates The Appropriations Clause

          President Biden’s DOJ is paying for this politically motivated prosecution of Biden’s chief

   political rival “off the books,” without accountability or authorization. Rather than funding the

   Special Counsel’s Office through the ordinary budget process, Jack Smith is drawing on a

   permanent indefinite appropriation that, by its terms and under the Reno Regulations, is not

   available to Special Counsel. Thus, Smith’s funding violates the Appropriations Clause. Like the
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   Appointments Clause defect, the Appropriations Clause violation is an issue of first impression in

   the Eleventh Circuit and serves as another basis for dismissal.

              A. Background

                         1. The Independent Counsel Act

          The Ethics in Government Act of 1978 established a procedure whereby, at the Attorney

   General’s request, a special panel of three federal judges would both appoint a prosecutor and

   define the scope of the investigation. The law was repeatedly reauthorized and later renamed the

   Independent Counsel Act. In 1983, Congress renamed the “Special Prosecutor” as “Independent

   Counsel.” Ethics in Government Act Amendments of 1982, Pub. L. No. 97-409, 96 Stat. 2039.

          In 1987, Congress created a “permanent indefinite appropriation” to “pay all necessary

   expenses of investigations and prosecutions by independent counsel . . . .” Dep’t of Justice

   Appropriations Act of 1988, Pub. L. No. 100-202, § 101(a), 101 Stat. 1329, 1329-9. A “permanent

   indefinite appropriation” is one that “both (1) remains available for specified purposes, with no

   fiscal-year limitations and with no need for additional congressional action to authorize its use;

   and (2) is for an unspecified amount of money.” U.S. GOV’T ACCOUNTABILITY OFF., Office of

   Congressional Workplace Rights—Availability of a Permanent Indefinite Appropriation for

   Agency Expenses Incident to Back Pay Awards, B-332003.1 n.1 (Oct. 5, 2022). A Committee

   report relating to the 1987 reauthorization underscored that the intent of Congress “has always

   been that the independent counsel would be completely independent of the Department of Justice.”

   H.R. REP. NO. 100-316, at 32; see also 28 U.S.C. § 594(i).

                         2. Congress Let The Independent Counsel Act Expire

          In 1999, Congress let the Independent Counsel Act expire due in large part to bipartisan

   concern that unlimited budgets were leading to political witch hunts. At a House Judiciary



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   Committee hearing, then Deputy Attorney General Eric Holder explained that resource constraints

   are a needed check on prosecutorial overreach:

          The Act…vests this immense prosecutorial power in … someone … who, as former
          Attorney General Barr stated, is not subject to the same sort of oversight or budgetary
          constraints that the publicly accountable Department of Justice faces day in and day out….

          Independent counsel are largely insulated from any meaningful budget process, competing
          public duties, time limits, accountability to superiors and identification with the traditional
          long-term interests of the Department of Justice. This insulation contributes greatly to the
          independence of these prosecutors, but it also eliminates the incentive to show restraint in
          the exercise of prosecutorial power. Such restraint, usually referred to as prosecutorial
          discretion, is essential to our system of justice, and is a prosecutorial hallmark . . . . All of
          these provide an impetus to investigate the most trivial matter to an unwarranted extreme,
          and to resolve all doubt against the subjects of an investigation.

   Independent Counsel Hearing at 70-71 (emphasis added). 6 The point was echoed by Senators

   Mitch McConnell and Chris Dodd, party leaders on opposite sides of the aisle. 7

          To address this concern, the DOJ recommended letting the Independent Counsel Act expire

   and instead using lawyers appointed within DOJ’s statutory framework. U.S. Senator Tammy

   Baldwin, then a House Judiciary Committee member, pressed Holder on what “safeguards” the

   American people would then have that “expenditures will be appropriately limited.” Independent

   Counsel Hearing at 101-02. Holder’s answer is at the crux of this case:

         [I]f you had special prosecutors who operated within the framework … of the Justice
         Department, you would not have the kinds of concerns that some people have expressed
         about expenditures. They would be a part of the Department, part of the Department's
         budget.

   6
     Reauthorization of the Independent Counsel Statute, Pt. I, Hearings Before the Subcomm. on
   Commercial and Admin. Law of the H. Comm. on the Judiciary, 106th Cong. 102 (1999) (the
   “Independent Counsel Hearing”).
   7
     Such agreement was documented in the op-ed pages of the Wall Street Journal: “The current
   independent counsel law is opposed by nearly every former living attorney general . . . . The law
   gives virtually unchecked power, virtually unlimited budgets and completely distorted incentives-
   -all to one man or woman whose sole job is to investigate a public official.” Mitch McConnell &
   Christopher Dodd, No More Independent Counsels, WALL ST. J. (Feb. 23, 1999),
   https://www.wsj.com/articles/SB919720839100844500.

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   Id. at 102. Congress allowed the statute to lapse, and DOJ issued the Reno Regulations soon

   thereafter. But DOJ never delivered on Mr. Holder’s assurance. Special Counsel expenditures

   have not become part of the Department’s budget and, as here, continue to be funded through the

   permanent indefinite appropriation reserved for “independent counsels.”

                          3. The Reno Regulations

          The day after the Independent Counsel Act expired, the Reno Regulations took effect. 64

   Fed. Reg. 37038 (July 9, 1999). The most significant change, according to the Congressional

   Research Service, is the “overall degree of ultimate control and authority that the Attorney General

   is to exercise over a Special Counsel investigation/prosecution, in comparison with the statutory

   Independent Counsel procedures, and former regulations such as those authorizing the Watergate

   Special Prosecutors.” CRS Report at 5. 8 For example, under the Independent Counsel Act, the

   prosecutor was selected by a three-judge panel from a specially created division within the U.S.

   Court of Appeals for the D.C. Circuit. 28 U.S.C. § 593. Pursuant to the Reno Regulations, Special

   Counsels are selected by and owe their jobs to the Attorney General and the Attorney General’s

   boss, the president. See 28 C.F.R. § 600.1.

              B. The Permanent Appropriation Is Not Available To The Special Counsel’s
                 Office

          Jack Smith’s expenditures have not become part of DOJ’s budget. Instead, the Biden

   Administration is funding the Special Counsel’s Office via the permanent indefinite appropriation

   that is only available to “independent counsel” appointed pursuant to the Independent Counsel Act

   or “other law.” The Hon. Ted Stevens Chairman Comm. on Appropriations, 2004 WL 2213560,



   8
    CRS, RL31246, Independent Counsel Law Expiration and the Appointment of “Special
   Counsels” (Jan. 15, 2002) (the “CRS Report”).

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   at *3 (Sept. 30, 2004) (emphasis added). 9 Smith is not an independent counsel, but the nearly $13

   million that Smith spent in Fiscal Year 2023—with no accountability—is more than 10% of the

   annual budgets of DOJ’s Tax and Environment and Natural Resources Divisions.

          The Reno Regulations stripped prosecutorial independence that had previously been

   conferred by the Independent Counsel Act. See, e.g., 28 C.F.R. § 600.7 (presuming that Special

   Counsel are subject to “review and approval procedures by the designated Departmental

   component”). The court in United States v. Stone ignored the significance of the Reno Regulations

   and relied on an atextual interpretation of 28 U.S.C. § 515 to reason that the provision served as

   an independent basis for Mueller’s appointment and “other law” for purposes of his access to the

   indefinite appropriation. 394 F. Supp. 3d 1, 19-20 (D.D.C. 2019). For the reasons stated above in

   Part I, § 515 cannot sustain the weight the Stone court placed upon it. Specifically, § 515(a) refers

   to attorneys “appointed by the Attorney General under law,” which requires an independent

   statutory basis for the appointment. There was no such basis supporting Mueller’s activities, and

   there is none supporting Jack Smith. Therefore, the Court should reject the analysis in Stone.

          The significance of the Reno Regulations is illustrated by the GAO analysis relating to

   Patrick Fitzgerald. In 2004, DOJ justified Fitzgerald’s access to the indefinite appropriation in

   connection with his appointment as Special Counsel by arguing that Fitzgerald was “express[ly]

   exclu[ded]” from the Reno Regulations.        See The Hon. Ted Stevens Chairman Comm. on

   Appropriations, 2004 WL 2213560, at *3 (Sept. 30, 2004). The GAO focused on the “indicia of

   independence” surrounding Fitzgerald, and concluded that the “independence conferred by the




   9
     See DOJ Appropriations Act, 1988, Pub. L. No. 100-202 § 108, 101 Stat. 1329 (Dec. 22, 1987)
   (“That a permanent indefinite appropriation is established within the Department of Justice to pay
   all necessary expenses of investigations and prosecutions by independent counsel appointed
   pursuant to the provisions of 28 U.S.C. 591 et seq. or other law . . . .” (emphasis added)).
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   delegation of authority to Special Counsel Fitzgerald from the Department of Justice is consistent

   with a fair reading of the independence required of an ‘independent counsel’ appointed under

   ‘other law.’” Id at *3, *5. Unlike Fitzgerald (a Senate-confirmed U.S. Attorney), the terms of

   Attorney General Garland’s Order make Jack Smith (an outside attorney who used to work at DOJ)

   subject to the Reno Regulations. Thus, pursuant to the Order, Smith is not “independent.”

          [A]s in cases involving Appointments Clause defects or other separation of powers
          problems with a government actor’s authority to act, the proper remedy here is to disregard
          the government action. Because the CFPB has prosecuted this enforcement action using
          funds derived without a constitutionally footed appropriation or oversight, the court should
          dismiss the enforcement action against the appellants.

   CFPB v. All Am. Check Cashing, Inc., 33 F.4th 218, 242 (5th Cir. 2022) (Jones, J., concurring);

   see also United States v. McIntosh, 833 F.3d 1163, 1175 (9th Cir. 2016) (“[I]f DOJ were spending

   money in violation of § 542, it would be drawing funds from the Treasury without authorization

   by statute and thus violating the Appropriations Clause. That Clause constitutes a separation-of-

   powers limitation that Appellants can invoke to challenge their prosecutions.”). Because Smith

   lacks sufficient independence, he should not be permitted to access the permanent indefinite

   appropriation. This defect serves as another basis for dismissal.




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                                           CONCLUSION

             For the foregoing reasons, President Trump respectfully submits that the Court should

   dismiss the Superseding Indictment pursuant to the Appointments Clause and the Appropriations

   Clause.

    Dated: February 22, 2024                        Respectfully submitted,

                                                    /s/ Todd Blanche
                                                    Todd Blanche (PHV)
                                                    toddblanche@blanchelaw.com
                                                    Emil Bove (PHV)
                                                    emil.bove@blanchelaw.com
                                                    BLANCHE LAW PLLC
                                                    99 Wall Street, Suite 4460
                                                    New York, New York 10005
                                                    (212) 716-1250

                                                    /s/ Christopher M. Kise
                                                    Christopher M. Kise
                                                    Florida Bar No. 855545
                                                    ckise@continentalpllc.com
                                                    CONTINENTAL PLLC
                                                    255 Alhambra Circle, Suite 640
                                                    Coral Gables, Florida 33134
                                                    (305) 677-2707

                                                    Counsel for President Donald J. Trump




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                                  CERTIFICATE OF SERVICE

          I, Christopher M. Kise, certify that on February 22, 2024, I filed the foregoing document

   and served it on the Special Counsel’s Office via email, or CM/ECF to the extent possible, as

   required by the Court’s February 20, 2024 Order. ECF No. 320.

                                                   /s/ Christopher M. Kise
                                                   Christopher M. Kise
